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Joseph Bakhos Esq,

State Bar Number: 327036

17221 E. 17th St. Ste #F

Santa Ana, CA 92705

Telephone: [714]-617-5868

Email Address: jbakhoslaw@yahoo.com

Attorney for Plaintiff,
RUBEN PAUL GONZALES
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

RUBEN PAUL GONZALES, Case No.:

Plaintiff, COMPLAINT FOR DAMAGES AND
vs. INJUNCTIVE RELIEF FOR VIOLATIONS

OF AMERICANS WITH DISABILITIES

SITEONE LANDSCAPE SUPPLY, a ACT; CALIFORNIA UNRUH CIVIL
business entity; STTEONE LANDSCAPE RIGHTS ACT; CALIFORNIA DISABLED

SUPPLY LLC, a limited liability company, | PERSONS ACT; GENERAL NEGLIGENCE
FRIEDMAN ANDREW S TR, a trust,

Defendants

Plaintiff, RUBEN PAUL GONZALES (“Plaintiff”) complains of defendants,
SITEONE LANDSCAPE SUPPLY, a business entity; SITEONE LANDSCAPE SUPPLY
LLC, a limited ability company, FRIEDMAN ANDREW S§ TR, a trust, (all defendants
collectively referenced herein as “Defendants”), and alleges as follows.

PARTIES

1. Plaintiff is a California resident with physical disabilities. He suffers from
paralysis to the left side of his body as a result of a fall from a second-floor of a two-story
building in 1996. Plaintiff had landed on his head and suffered swelling on his brain. He
underwent surgery and was hospitalized for six months. A year later he was struck by a hit and
run driver on the left side of his body while crossing a street. This accident resulted in injuries
to his left knee that required metal pins to be permanently inserted. He has difficulty walking

and utilizes a wheelchair for mobility. He does not drive and does not have a driver’s license.

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2. Defendant SITEONE LANDSCAPE SUPPLY is a landscape supply business
located at 1441 FE. McFadden Ave. Santa Ana, CA 92705,

3. Plaintiff is informed and believes and, on that basis, alleges defendant
SITEONE LANDSCAPE SUPPLY LLC, a limited liability company, is the owner of
SITEONE LANDSCAPE SUPPLY and the holder of its business license.

4, Plaintiff is informed and believes and, on that basis, alleges defendant
FRIEDMAN ANDREW S§ TR, a trust, is the owner of the premises, building, and/or the land,

5. Plaintiff does not know the true names of all possible defendants, their business
capacities, their ownership connection to the property and the business, or their relative
responsibilities in causing the access violations herein complained of, and plaintiff alleges a
joint venture and common enterprise by all defendants. Plaintiff is informed and believes that
each of the defendants herein is responsible in some capacity for the events and damages
alleged, or is a necessary party for obtaining appropriate relief. Plaintiff shall seck leave to
amend the complaint to name and add other defendants when ascertained.

JURISDICTION & VENUE

6. This court has subject matter jurisdiction over this action pursuant to 28 U.S.
Code § 1331 and § 1343(a)(3) & (a}(4) for violations of the Americans with Disabilities Act of
1990, 42 U.S. Code § 12101, et seq.

7. Venue is proper in this court pursuant to 28 U.S. Code § 1391(b) and is founded
on the fact the real property which is the subject of this action is located in this district and
Plaintiffs causes of action arose in the district. The property address is stated in Paragraph 2,
supra.

8. Pursuant to pendant jurisdiction, attendant and related causes of action, arising
from the same nucleus of transactions, are brought under California’s Unruh Civil Rights Act
and the California Disabled Persons Act, which acts expressly incorporate the Americans with
Disabilities Act.

FACTUAL ALLEGATIONS

9. Plaintiff went to STTEONE LANDSCAPE SUPPLY in or about August 2020.

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When entering the parking jot, Plaintiff noticed there was no handicap parking, no handicap
parking sign, and no van access. The condition of the parking lot, therefore, denied Plaintiff, as
a disabled person, full and equal access to the business and caused him difficulty and
frustration in his attempts to consummate business there,

10. Failing to provide full and properly maintained access to handicap parking area
amounts to a violation of the operative American with Disabilities Act Guidelines
(“ADAAG”), The lack of a handicap parking space violates the ADAAG. Additionally, the
lack of a handicap parking space shows neglect and demonstrates Defendants are not
implementing any policy of upkeep so as to give disabled persons practical access to the given
premises and services equal to the access enjoyed by non-disabled persons; this amounts to
illegal discrimination against disabled persons who wish to patronize SITEONE LANDSCAPE
SUPPLY as a place of public accommodation.

11. Plaintiff personally encountered violations of applicable legal obligations and
standards that prevented him from full and equal access to a convenient, safe, adequate, and
appropriate sales counter. Plaintiff would like to patronize this establishment again but cannot
do so until the defendants remove these barriers or obstacles to proper access equal for
everyone and correct all violations of law. Plaintiff seeks to have all barriers and obstacles
related to disabled persons remedied, whichever may exist, regardless of whether he personally
encountered any of them.---See Doran v. 7-11; 506 F3d 1191 (9" Cir 2007), holding that once
a handicapped Plaintiff encounters one barrier to equal access at a given site, he can sue to
have ail other barriers relating to his disability removed even if he did not personally encounter
those barriers on the given occasion. Additionally, Plaintiff believes and alleges that
Defendants’ failure to remedy and remove the specific barriers (difficulties) to access for
disabled persons, as mentioned in Paragraph 9 above, is intentional because a) these particular
barriers are obvious, and b) Defendants, jointly and severally, exercised full contro! and
dominion over the conditions on the land and at the business at this particular location, and
therefore the lack of and barriers to full equal access for disabled persons was not mere

“accidental oversight”, given that had the defendants intended any other situation they had the

COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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means and ability to make the land and business fully compliant with the legal requirements

mandated by the laws, as set forth in the causes of action below.

FIRST CAUSE OF ACTION
VIOLATION OF THE AMERICANS WITH DISABILITES ACT OF 1990
(Against all Defendants (42 U.S. Code § 12101, et seq.))

12.‘ Plaintiff realleges and incorporates by reference the allegations contained in all
prior paragraphs of this complaint.

13. Defendants own, operate, lease from or lease to a place of public
accommodation commonly known as SITEONE LANDSCAPE SUPPLY. Under the
Americans with Disabilities Act (ADA), it is an act of discrimination for any person(s) who
owns, leases (or leases to), or operates a place of public accommodation to deny to disabled
persons the full and equal enjoyment of the goods, services, facilities, privileges, advantages,
or accommodations of any place of public accommodation. See 42 U.S. Code § 12182(a).
Discrimination is defined, inter alia, including but not limited to, as follows:

a. A failure to make reasonable modifications in policies, practices,
or procedures, when such modifications are necessary to afford such goods,
‘services, facilities, privileges, advantages, or accommodations to individuals with
disabilities, unless the entity can demonstrate that making such modifications
would fundamentally alter the nature of such goods, services, facilities, privileges,
advantages, or accommodations. 42 U.S. Code § 12182(b)(2)(A)(ii).

b. A failure to remove architectural barriers, and communication
barriers that are structural in nature, in existing facilities, ...where such removal is
readily achievable. See 42 U.S, Code § 12182(b)(2)(A}(iv). Barriers can be
defined by reference to the ADAAG, found at 28 Code Federal Regulations, Part
36, Appendix D.

c. A failure to design and construct facilities for first occupancy, if
later than 30 months after July 26, 1990, that are readily accessible to and usable

by individuals with disabilities, except where an entity can demonstrate that it is

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structurally impracticable to meet the requirements of such subsection in

accordance with standards set forth or incorporated by reference in regulations

issued under this subchapter. 42 U.S. Code § 12183(a)(1).

14, Defendants are persons or business entities that own, operate, or lease a place of
public accommodation. Defendants are required to avoid discrimination and have specific
duties to (1) ensure that all construction, alteration, or modification is barrier-free as to
disabled persons and complies with the currently operative ADAAG; and/or (2) remove all
existing barriers to disabled persons where such removal is readily achievable, and/or (3) to
provide alternatives to barrier removal for the benefit of the disabled persons so that they do
enjoy equal access at places of public accommodation. Defendants have failed to meet these
obligations. Consequently, Plaintiff is entitled to court-ordered relief against Defendants, io
make sure that within six months from the beginning of this action Defendants render their

public accommodation premises fully compliant with the ADA.

SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH
CIVIL RIGHTS ACT
(Against all Defendants (Cal Civil Code § 51-53))

15.  Plaintiffrealleges and incorporates by reference the allegations contained in all
prior paragraphs of this complaint.

16. Because defendants violated plaintiffs rights under the ADA, they also violated
the Unruh Civil Rights Act and are liable for damages. Civil Code § 51(0, 52(a).

17, Because the violation of the Unruh Civil Rights Act resulted in difficulty,
discomfort, and embarrassment for the plaintiff, the defendants are also responsible for

statutory damages, 1.e., civil penalties. See Civil Code § 51(f), 52(a).

THIRD CAUSE OF ACTION
VIOLATION OF THE CALIFORNIA DISABLED PERSONS ACT
(On behalf of plaintiff and against all defendants (Civil Code § 54, 54.1, 54.2))

18. —- Plaintiff realleges and incorporates by reference the allegations contained in all
prior paragraphs of this complaint.
19. Because Defendants violated the Plaintiff's rights under the ADA, they also
violated the California Disabled Persons Act, thus liable for damages. Civil Code § S1(f),

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52(a), 54.1(d).

20, Because the violation of the Disabled Persons Act resulted in difficulty,
discomfort, and embarrassment for the plaintiff, the defendants are also responsible for
statutory damages, i.e., a civil penalty, at statutory minimum of $4000. See Civil Code §
55.56(a)-(c). In addition, Plaintiff is entitled costs of suit. If Plaintiff hires an attorney to

prosecute this action, Plaintiff will be entitled to any and all attorney’s fees.

FOURTH CAUSE OF ACTION
GENERAL NEGLIGENCE
(Agamst all Defendants)

21. Plaintiff realleges and incorporates by reference the allegations contained in all
prior paragraphs of this complaint.

22. Defendants have a general duty and owe a duty of due care to the disabled
Plaintiff, arising under the ADA and Unruh Civil Rights Act and California Disabled Persons
Act, to provide safe, convenient, and accessible facilities to the disabled plaintiff. Their
negligent violation of this duty, as alleged in the preceding paragraphs of this complaint,
notably Paragraphs | through 18, and also their violation of statutes, namely, 42 U.S. Code 8
12101 et seq., and also including California Crvil Code §§ 51, 52, 54 and 54.1, has caused
inconvenience, injury, and damage as alleged, in the amount of at least minimal amounts of

damages allowed by applicable statutes, the exact amount to be determined at the trial.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays that this court award damages and provide relief
against all named Defendants, jointly and severally, as follows:

1, For mandatory injunctive relief, compelling the named defendants jointly and
severally to comply with the ADA and the California Unruh Civil Rights Act, fully correcting
all violations of the requirements of these laws, within three months of being served with
process, namely, summons and complaint, in this action, and that said Defendants be required
to report to Plaintiff and also to the court the actual status of correction of the defects charged

in this complaint, on the next day after the three month period is done.

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2. For damages under the Unruh Civil Rights Act and/or the California Disabled
Persons Act where applicable, which statutes provide for actual damages and a statutory
minimum of $4,000. If the Plaintiff cannot recover under both Unruh and California Disabled
Persons Act, simultaneously, an election will be made prior to or at trial, at an appropriate
stage in these legal proceedings.

3. For damages for general negligence, in the amount of at least minimal amounts
of damages allowed by applicable statutes, or alternatively $4000, the exact amount to be
determined at trial.

4. For reasonable attorneys’ fees, litigation expenses, and costs of suit, pursuant to 42
U.S. Code § 12205; Cal Civil Code §§ 52 and 54.3, and Cal Code of Civil Procedure § 1021.5.

5. For such other and further relief as the court deems just and proper.

Joseph Bakhos
Attomey for Plaintiff

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